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6

7     Attorneys for Plaintiff
8
                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
      CASEY BLOTZER, individually and )                 Case No. 8:14-cv-01960-JLS-DFM
11    on behalf of all others similarly situated, )
12                                                )     NOTICE OF VOLUNTARY
      Plaintiff(s)                                )     DISMISSAL OF DEFENDANT
13
                                                  )     LENDIO, INC. WITHOUT
             vs.
14                                                )     PREJUDICE
                                                  )
15    LENDIO, INC., et al.,
                                                  )
16    Defendant.                                  )
17

18
            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19
      Civil Procedure 41(a)(1), hereby voluntarily dismisses Defendant Lendio, Inc.
20
      without prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed
21

22
      a motion for summary judgment. Although this case was filed as a class action, no

23
      class has been certified, and court approval of this voluntary dismissal is therefore
24    not required under Rule 23(a) of the Federal Rules of Civil Procedure.
25          RESPECTFULLY SUBMITTED this 14th day of October, 2015.
26
                                 By:    s/Todd M. Friedman
27
                                        Todd M. Friedman, Esq.
28                                      Law Offices of Todd M. Friedman, P.C.
                                        Attorney for Plaintiff


                                           Notice of Dismissal - 1
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1     Filed electronically on this 14th day of October, 2015, with:
2
      United States District Court CM/ECF system
3

4     And hereby served upon all parties
5
      Notification sent on this 14th day of October, 2015, via the ECF system to:
6

7     Honorable James V. Selna
      United States District Court
8
      Central District of California
9
      And mailed to:
10

11    Ethan Hanson
12    LENDIO, INC.
      c/o REGISTERED AGENT SOLUTIONS, INC.
13
      1679 S Dupont Hwy Ste 100
14    Dover, DE 19901
15

16    This 14th day of October, 2015.
17
      By: s/Todd M. Friedman
          Todd M. Friedman
18

19

20

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22

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25

26

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                                         Notice of Dismissal - 2
